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 8                         IN THE UNITED STATES DISTRICT COURT

 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                 No.   CR.S-07-0248 WBS

12                Plaintiff,

13        v.                                   ORDER RE DEFENDANT FUENTES’
                                               MOTION FOR DISCLOSURE OF
14   EDWARD FUENTES, et al.,                   MINISTERIAL GRAND JURY RECORDS

15                Defendants.

16                                 /

17                On April 30, 2008, this matter came before the undersigned

18   for hearing on defendant Edward Fuentes’ motion for disclosure of

19   ministerial grand jury records.         All of the other defendants joined in

20   that motion.     Attorney John Balazs appeared on behalf of defendant

21   Edward Fuentes and argued the motion on behalf of all defendants.

22   Assistant United States Attorney Jason Hitt appeared on behalf of the

23   government.     At the conclusion of the hearing defense counsel

24   requested leave to file a post-hearing supplemental brief.                The

25   request was not opposed and on May 2, 2008, the post-hearing brief was

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 1   filed.   For the reasons set forth below, the motion is granted in part

 2   and denied in part.

 3                                     ANALYSIS

 4             By this motion, defendants seek disclosure of nine

 5   categories of documents characterized as “ministerial records” of the

 6   grand jury that returned the indictment in this case.

 7             Specifically, defendants seek an order from the court

 8   requiring the government to provide the following:

 9             1.    Any order reflecting the beginning or
                     extension of the term of any grand
10                   juries that investigated Edward Fuentes
                     or other defendants in this case,
11                   including but not limited to the grand
                     jury which returned the indictment
12                   herein;

13             2.    Roll sheets reflecting composition of the
                     grand jury;
14
               3.    Attendance records of the jurors, and
15                   any substitutions;

16             4.    Records setting forth the method by
                     which the grand jury was empaneled;
17
               5.    A transcript of the Court’s instructions
18                   and charges to the grand jury;

19             6.    Voting records related to any decision
                     to extend the life of the grand jury;
20
               7.    All records of disclosure of names of
21                   persons receiving information about
                     matters occurring before the grand jury,
22                   as defined in Federal Rule of Criminal
                     Procedure § 6(e);
23
               8.    A list of all persons to whom grand jury
24                   materials were disclosed, the date of
                     such disclosure, letters or warnings
25                   given to any person regarding
                     disclosure, and any petitions for
26                   disclosure; and


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 1               9.   A copy of all grand jury subpoenas for
                      documents or testimony issued in this
 2                    case, as well as the dates materials
                      obtained from the subpoenas were
 3                    returned to the grand jury and a list of
                      all exhibits or documentary evidence
 4                    presented to the grand jury.

 5   (Def.’s Notice of Mot. at 1-2.)

 6               In support of this request for disclosure, defendants have

 7   relied in large part on the authority of In re Special Grand Jury (for

 8   Anchorage, Alaska), 674 F.2d 778 (9th Cir. 1992).         In opposition, the

 9   government took the position that the requested records were protected

10   from disclosure absent the moving party’s ability to demonstrate with

11   particularity the existence of a compelling need sufficient to

12   outweigh the policy of grand jury secrecy. (See Gov’t. Resp. at 4-5).

13   In addition, the government offered opposition to each of the specific

14   requests.

15               Below, the court will address the merits of defendants’

16   motion and rule on each of their requests for disclosure.

17   The Right of Access to Ministerial Records and its Application

18               Although supported by some precedent, defendants’ request

19   for disclosure is relatively unique.      As other courts have recognized,

20   there is a “paucity of judicial authority in this area.”          In re Grand

21   Jury Investigation, 903 F.2d 180, 184 (3d Cir. 1990); see also In re

22   Special Grand Jury (for Anchorage, Alaska), 674 F.2d at 780 (“The

23   parties have not cited any case addressing the availability of such a

24   right in the area of grand jury ministerial records, nor has our

25   research disclosed any.”); In re Grand Jury Proceedings, Special Grand

26   Jury 89-2, 813 F. Supp. 1451, 1469 (D. Colo. 1992).


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 1             Nonetheless, disclosure of certain categories of the

 2   requested records is justified under the holding of the court in In re

 3   Special Grand Jury (for Anchorage, Alaska), 674 F.2d 778 (9th Cir.

 4   1992).   In that case, appellants, who had been the subject of a grand

 5   jury investigation for approximately two years, moved the district

 6   court for access to certain “ministerial records” for the grand jury

 7   conducting the investigation.     674 F.2d at 779.     The district court

 8   denied the motion.   Id.   The Ninth Circuit Court of Appeals reversed

 9   and remanded to the district court for a determination of the scope of

10   the right of access to public records as it applied in the context of

11   the ministerial records of the grand jury.       674 F.2d at 784.      In this

12   regard the court observed:

13             [W]e perceive no reason, nor has the government
               offered any, why the public should not have access
14             to the kind of records sought here. The
               importance of public access to judicial records
15             and documents cannot be belittled. We therefore
               hold that, as members of the public, the
16             appellants have a right, subject to the rule of
               grand jury secrecy, of access to the ministerial
17             records in the files of the district court having
               jurisdiction of the grand jury. Absent specific
18             and substantial reasons for refusal, such access
               should not be denied.
19

20   674 F.2d at 781.

21             The opinion in In Re Special Grand Jury (for Anchorage,

22   Alaska) left for the district court the determination of which grand

23   jury records should be open to the public.       Thus, the court did not

24   rule on any of the specific requests for disclosure made in that case,

25   many of which are adopted in defendants’ request here.         See 674 F.2d

26   at 779 n.1.   Indeed, in even using the term “ministerial records” in


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 1   referring to the requested documents, the court emphasized that such

 2   usage did not express a judgment as to which records were disclosable.

 3   Id.   While basing its holding upon a recognition of the public’s

 4   general right of access to court records and documents (citing Nixon

 5   v. Warner Communications, Inc., 435 U.S. 589, 597-98 (1978)), the

 6   court also found that such a right was tempered by the long-standing

 7   policies underlying the rule of grand jury secrecy.          Id. at 781.   The

 8   court declined to “attempt . . . any detailed characterization of the

 9   scope of the public access right as it applies in this context,”

10   deferring instead to the district court “to work out the details of

11   the access doctrine in an appropriate way.”         Id. at 784.    In this way,

12   “[t]he Ninth Circuit thus set forth an instructive standard, which

13   permits disclosure of ministerial grand jury records that do not

14   reveal the substance or essence of the grand jury’s investigation or

15   deliberations.”    United States v. Diaz, 236 F.R.D. 470, 476 (N.D. Cal.

16   2006).

17              With this guidance, this court begins by recognizing that

18   Federal Rule of Criminal Procedure 6(e) codifies the long standing

19   policy of secrecy surrounding federal grand jury proceedings.

20   Specifically, Rule 6(e)(2) prohibits disclosure of “matters occurring

21   before the grand jury.”     See In re Special Grand Jury (for Anchorage,

22   Alaska), 674 F.2d 778, 781 (9th Cir. 1992); In re Grand Jury

23   Investigation, 903 F.2d 180, 181-182 (3d Cir. 1980); see also In re

24   Grand Jury Proceedings, Special Grand Jury 89-2, 813 F. Supp. 1451,

25   1469 (D. Colo. 1992).     The courts which have addressed this issue

26   suggest that protection from public disclosure extends to both records


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 1   reflecting matters occurring before the grand jury, and records

 2   documenting non-substantive incidents of grand jury proceedings (such

 3   as names of grand jurors) which would inhibit the freedom and

 4   integrity of the deliberative process.       See, e.g., In re Grand Jury

 5   Investigation, 903 F.2d at 182 (cautioning against an overly strict

 6   construction of Rule 6(e)); In re Special Grand Jury (for Anchorage,

 7   Alaska, 674 F.2d at 781-782 (concluding that grand jury secrecy

 8   doctrine extends beyond the scope of Rule 6(e))).         Keeping this

 9   standard in mind, the court turns to the defendants’ specific requests

10   for disclosure.

11   Defendants’ Specific Requests for Disclosure

12        Request 1 - Orders reflecting the beginning term and extension of

13        the terms of any grand jury investigating the defendants.

14             These are ministerial grand jury records which are properly

15   subject to disclosure.    See In re Grand Jury Investigation, 903 F.2d

16   at 183-184, & n.7 (holding that termination date of grand jury term

17   subject to disclosure, and describing an informal survey indicating

18   that such information is a matter of public record in the vast

19   majority of United States District Courts, including the Eastern

20   District of California); United States v. Diaz, 236 F.R.D. 470, 478-79

21   (N.D. Cal. 2006) (granting this same request); In re Grand Jury

22   Proceedings, 813 F. Supp. at 1470 (ordering disclosure of orders

23   authorizing the extension of the grand jury).

24             Accordingly, the request will be granted.         The government is

25   directed to produce any such orders that may be discovered in its

26   possession.   In addition, the Clerk of the Court is directed to make


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 1   copies of any such orders in the court’s records available to counsel

 2   for defendants.      To the extent necessary to comply with this order the

 3   undersigned also orders that any such orders currently filed under

 4   seal be unsealed.

 5        Requests 2 & 3 - Roll sheets reflecting composition of the grand

 6        jury and attendance records.

 7                The government opposes this request on the grounds that the

 8   information sought is protected by both Rule 6(e) and general

 9   principles of grand jury secrecy.         The court finds that argument

10   persuasive.

11                Even with the names of grand jurors replaced by numbers, the

12   information sought could, if revealed, impinge upon the freedom and

13   integrity of the grand jury’s deliberative process.            Moreover, counsel

14   for defendants have offered no practical need for disclosure of such

15   information which, as far as the court is aware, has never before been

16   considered to be a public court record.          Therefore, this request will

17   be denied.     See In re Special Grand Jury (for Anchorage, Alaska), 674

18   F.2d at 782 (stating, without holding, with respect to this same

19   request “[i]t would be reasonable to hold that this element of the

20   request runs afoul of the doctrine of grand jury secrecy, in spite of

21   the fact that it seems not to fall within the scope of the Rule 6(e)

22   language.”); Diaz, 236 F.R.D. at 480 (denying similar request).1

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           However, the Clerk of the Court is directed to provide to
25   defense counsel the number of names on the master wheel venire for
     the grand jury in question as well as the number of Hispanic and Asian
26   surnames in that venire.


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 1        Request 4 - Records setting forth the method of empaneling the

 2        grand jury.

 3             This request seeks ministerial records of the grand jury

 4   that are subject to disclosure.      See In re Special Grand Jury (for

 5   Anchorage, Alaska), 674 F.2d at 779; Diaz, 236 F.R.D. at 478.             This

 6   request will be granted with the same directive as issued with respect

 7   to request 1.

 8        Request 5 - A transcript of the court’s instructions and charges

 9        to the grand jury.

10             The government opposes this request on the grounds that the

11   defendants have not made a showing of particularized need.             The

12   argument is unpersuasive.     The defendants are entitled to the

13   transcript of the instructions and charges to the grand jury.             See

14   United States v. Alter, 482 F.2d 1016, 1029, n.21 (9th Cir. 1973); see

15   also United States v. Marcucci, 299 F.3d 1156 (9th Cir. 2002)

16   (addressing challenge to a grand jury charge), cert. denied, 538 U.S.

17   934 (2003); Diaz, 236 F.R.D. at 477-78 (granting same request).

18             This request will be granted with the same directive as

19   issued with respect to request 1.      If no transcript of the

20   instructions and charges to the grand jury has been prepared, the

21   Clerk of the Court is directed to have it prepared and made available

22   to defense counsel.

23        Request 6 - Voting records related to any decision to extend the

24        life of the grand jury.

25             These requested records are nonministerial in nature and

26   disclosure of such voting records would encroach upon grand jury


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 1   secrecy.    See In re Special Grand Jury (for Anchorage, Alaska), 674

 2   F.2d at 780.    This is particularly the case since the term “matters

 3   occurring before the grand jury” is to be interpreted broadly in

 4   determining the scope of grand jury secrecy.        In re Grand Jury

 5   Investigation, 903 F.2d at 182.      Accordingly, this request will be

 6   denied.    In re Grand Jury Proceedings, 813 F. Supp. at 1470 (denying

 7   similar request); Diaz, 236 F.R.D. at 479 (same).

 8        Requests 7 & 8 - Disclosure of names of persons receiving

 9        information about matters occurring before the grand jury and

10        other records related to such disclosures.

11               Through these requests defense counsel seeks disclosure of

12   documentation that the government is required to provide to the court

13   upon disclosure of information under Fed. R. Crim. P. 6(e)(3)(A)(ii).

14   See Fed. R. Crim. P. 6(e)(3)(B).      Although two district courts have

15   concluded without analysis that such records are nonministerial in

16   nature (In re Grand Jury Proceedings, 813 F. Supp. at 1470 and Diaz,

17   236 F.R.D. at 480), the Ninth Circuit has placed them in the category

18   of ministerial records “to reflect the fact that they generally relate

19   to the procedural aspects of the empaneling and operation” of the

20   grand jury.    In re Grand Jury (for Anchorage, Alaska), 674 F.2d at

21   779, n.1.

22               Accordingly, in keeping with the Ninth Circuit’s

23   characterization of such records, the undersigned will order that the

24   government produce such records for in camera review so that the court

25   may determine which grand jury disclosure records are ministerial in

26   nature and which, if any, would disclose matters occurring before the


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 1   grand jury and therefore should remain secret.         Along with the in

 2   camera submission the government should provide the court with its

 3   specific position with respect to disclosure for each document as well

 4   as the basis for that position.

 5        Request 9 - Copies of all grand jury subpoenas issued in this

 6        case as well as dates any subpoenaed materials were returned to

 7        the grand jury and a list of exhibits and documentary evidence

 8        presented.

 9             Counsel for the defendants have attempted to limit this

10   request in a manner so as to characterize it as one seeking records

11   that are merely ministerial.      Nonetheless, the requested records

12   (whether already existing, or created in response to the request)

13   would appear to reflect both matters occurring before the grand jury

14   as well as the grand jury investigative process itself.          Absent a

15   compelling showing of need as to these materials, which, as far as

16   this court is aware have never been deemed public records by any

17   court, an order requiring their disclosure is not appropriate.          See

18   Diaz, 236 F.R.D. at 479-80 (denying a request that sought this

19   information).

20                                     CONCLUSION

21             For the reasons set forth above, IT IS HEREBY ORDERED that:

22             1.    Defendants’ requests for disclosure 1, 4, and 5 are

23   granted with the directions as indicated above.         With respect to these

24   requests, the government shall produce any records in its possession

25   within fourteen days of the date of this order with a continuing

26   obligation to produce such records if they are later discovered and


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 1   the Clerk of the Court is directed to provide copies of any such

 2   records held by the court to defendants’ counsel;

 3                2.   Defendants’ requests 7 and 8 are granted in part and the

 4   government is ordered to file its submission and documents for in

 5   camera review within fourteen days of the date of this order; and

 6                3.   Defendants’ requests for disclosure 2, 3, 6 and 9 are

 7   denied.2

 8   DATED: June 24, 2008.

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             As to requests 2 and 3, as noted above, the Clerk of the
25   Court is directed to provide to defense counsel the number of names on
     the master wheel venire for the grand jury in question as well as the
26   number of Hispanic and Asian surnames in that venire.


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